     Case: 4:15-cv-01154-JAR Doc. #: 39 Filed: 02/22/18 Page: 1 of 1 PageID #: 294




                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

CONNECTOR CASTINGS, INC.,                       )
   Plaintiff,                                   )
                                                )
v.                                              )
                                                )          No. 4:15-cv-01154-JAR
MASTERMAN’S LLP d/b/a                           )
MASTERMAN’S,                                    )
                                                )
        Defendant.                              )

             STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff Connector Casting, Inc., pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii) and (B), dismisses its case against Defendant Masterman’s LLP d/b/a

Masterman’s with prejudice, with all parties to bear their own costs and attorney fees. Defendant

consents to the dismissal.

SCHULTZ & ASSOCIATES LLP                        GREENSFELDER, HEMKER & GALE, P.C.

By: /s/ Ronald J. Eisenberg                     By: /s/ David P. Niemeier
  Ronald J. Eisenberg, #48674MO                   Dale M. Weppner, #41080MO
  640 Cepi Drive, Suite A                         David P. Niemeier, #50969MO
  Chesterfield, MO 63005-1221                     10 South Broadway, Suite 2000
  Telephone: (636) 537-4645                       St. Louis, Missouri 63102
  Facsimile: (636) 537-2599                       Telephone: (314) 241-9090
  reisenberg@sl-lawyers.com                       Facsimile: (314) 241-8624
                                                  dpn@greensfelder.com
     Attorney for Plaintiff                       dmw@greensfelder.com
     Connector Castings, Inc.
                                                    Attorneys for Defendant
                                                    Masterman’s LLP d/b/a Masterman’s

                                 CERTIFICATE OF SERVICE
        I certify that on February 22, 2018, the foregoing was filed electronically with the Clerk
of the Court and service was made through the Notice of Electronic Filing to all counsel of
record.
                                                            /s/ Ronald J. Eisenberg
